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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :
                                           :               CRIMINAL ACTION
                                           :
                                           :
             v.                            :
                                           :
                                           :
RHEA F. HALLINAN, et al                    :               NO.: 16-cr-00130-1
also known as                              :
RHEA F. GREENSPAN                          :
                                       ORDER

             AND NOW, this 2ND          day of MARCH 2021, in accordance with the

court’s procedure for assignment of a United States Magistrate Judge to certain

District Court Judges on a rotating basis, it is hereby,

             ORDERED the United States Magistrate Judge assigned to the above-

captioned case is the Honorable Elizabeth T. Hey.


                                               FOR THE COURT:


                                               JUAN R. SÁNCHEZ
                                               Chief Judge


                                               ATTEST:


                                               ________________________
                                               KATE BARKMAN
                                               Clerk of Court
